Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 1 of 27 Page ID #:76




    1 HAILYN J. CHEN (State Bar No. 237436)
      hailyn.chen@mto.com
    2
      ASHLEY D. KAPLAN (State Bar No. 293443)
    3 ashley.kaplan@mto.com
      MUNGER, TOLLES & OLSON LLP
    4
      350 South Grand Avenue
    5 Fiftieth Floor
      Los Angeles, California 90071-3426
    6
      Telephone: (213) 683-9100
    7 Facsimile: (213) 687-3702
    8
     Attorneys for Defendant THE REGENTS
   9 OF THE UNIVERSITY OF
  10 CALIFORNIA
  11
                             UNITED STATES DISTRICT COURT
  12
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13
  14
        JOHN DOE,                                Case No. 2:19-CV-10385-PSG-MRW
  15
                    Plaintiff,                   NOTICE OF MOTION AND
  16                                             MOTION TO DISMISS PLAINTIFF
            vs.
  17                                             JOHN DOE’S COMPLAINT
     THE REGENTS OF THE
  18 UNIVERSITY OF CALIFORNIA; and
     DOES 1-20, inclusive,
  19                                             Judge: Hon. Philip S. Gutierrez
                Defendants.                      Date: April 13, 2020
  20                                             Time: 1:30 P.M.
  21                                             Courtroom: 6A
  22
  23
  24
  25
  26
  27
  28
                                                                       2:19-CV-10385-PSG-MRW
              NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 2 of 27 Page ID #:77




    1 TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:
    2        PLEASE TAKE NOTICE that on April 13, 2020, at 1:30 p.m., or as soon
    3 thereafter as the matter may be heard, in Courtroom 6A of this Court, located at 350
    4 West 1st Street, Los Angeles, California 90012, Defendant The Regents of the
    5 University of California (“the University”) will move pursuant to Federal Rule of
    6 Civil Procedure 12(b)(6) and 12(b)(1) for an order dismissing all claims in
    7 Plaintiff’s Complaint with prejudice. (ECF No. 1.)
    8        This motion is made following the conference of counsel pursuant to Local
    9 Rule 7-3, which took place telephonically on February 5, 2020.
  10         The University bases its motion on this notice of motion, the attached
  11 memorandum of points and authorities, and the proposed order.
  12 DATED: February 13, 2020              MUNGER, TOLLES & OLSON LLP
  13                                         HAILYN J. CHEN
                                             ASHLEY D. KAPLAN
  14
  15
  16                                       By:        /s/ Ashley D. Kaplan
  17                                           ASHLEY D. KAPLAN
                                           Attorneys for Defendant The Regents of the
  18                                       University of California
  19
  20 .
  21
  22
  23
  24
  25
  26
  27
  28
                                                                        2:19-CV-10385-PSG-MRW
               NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 3 of 27 Page ID #:78




    1 HAILYN J. CHEN (State Bar No. 237436)
      hailyn.chen@mto.com
    2 ASHLEY D. KAPLAN (State Bar No. 293443)
      ashley.kaplan@mto.com
    3 MUNGER, TOLLES & OLSON LLP
      350 South Grand Avenue
    4 Fiftieth Floor
      Los Angeles, California 90071-3426
    5 Telephone: (213) 683-9100
      Facsimile: (213) 687-3702
    6
      Attorneys for Defendant THE REGENTS
    7 OF THE UNIVERSITY OF
      CALIFORNIA
    8
    9                       UNITED STATES DISTRICT COURT
  10        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 JOHN DOE,                                   Case No. 2:19-CV-10385-PSG-MRW
  13               Plaintiff,                    MEMORANDUM OF LAW IN
                                                 SUPPORT OF MOTION TO
  14        vs.                                  DISMISS PLAINTIFF JOHN DOE’S
                                                 COMPLAINT
  15 THE REGENTS OF THE
     UNIVERSITY OF CALIFORNIA; and
  16 DOES 1-20, inclusive,                       Judge: Hon. Philip S. Gutierrez
                                                 Date: April 13, 2020
  17               Defendants.                   Time: 1:30 P.M.
                                                 Courtroom: 6A
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                      2:19-CV-10385-PSG-MRW
        MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 4 of 27 Page ID #:79




    1                                                TABLE OF CONTENTS
    2                                                                                                                           Page
    3 I.       INTRODUCTION ............................................................................................. 1
    4 II.      FACTUAL BACKGROUND ........................................................................... 2
    5          A.       The February 13, 2017 Incident .............................................................. 2
    6          B.       University Investigation .......................................................................... 3
    7          C.       Student Conduct Determination and Suspension.................................... 4
    8          D.       Plaintiff’s Administrative Appeal ........................................................... 4
    9          E.       Plaintiff’s Writ of Administrative Mandate Proceeding ......................... 5
  10           F.       Plaintiff’s Claims .................................................................................... 5
  11                    1.       Plaintiff Asserts Claims of Sex Discrimination Under Title
                                 IX .................................................................................................. 5
  12
                        2.       Plaintiff Asserts Various Other Federal and State Claims ........... 6
  13
        III.   LEGAL STANDARD ....................................................................................... 7
  14
        IV.    ARGUMENT .................................................................................................... 7
  15
               A.       Plaintiff’s Title IX Claims Should Be Dismissed Because He
  16                    Fails to Adequately Plead Gender Bias .................................................. 7
  17                    1.       Plaintiff Fails to Plead a Plausible Erroneous Outcome
                                 Claim ............................................................................................. 8
  18
                        2.       Plaintiff Fails to Plead a Selective-Enforcement Claim ............. 14
  19
               B.       Plaintiff’s § 1983 Claim and State-Law Claims Are Barred by
  20                    the Eleventh Amendment ...................................................................... 16
  21                    1.       Plaintiff’s § 1983 Claim Is Barred by the Eleventh
                                 Amendment................................................................................. 16
  22
                        2.       Plaintiff’s State-Law Claims Are Barred by the Eleventh
  23                             Amendment................................................................................. 16
  24 V.        CONCLUSION ............................................................................................... 17
  25
  26
  27
  28
                                                -i-                      2:19-CV-10385-PSG-MRW
           MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 5 of 27 Page ID #:80




    1                                             TABLE OF AUTHORITIES
    2                                                                                                                   Page
        FEDERAL CASES
    3
        Armstrong v. Myers,
    4
          964 F.2d 948 (9th Cir. 1992) (per curiam)........................................................... 16
    5
        Ashcroft v. Iqbal,
    6      556 U.S. 662 (2009) ............................................................................................... 7
    7
      Austin v. University of Oregon,
    8   925 F.3d 1133 (9th Cir. 2019) ................................................................... 1, passim
   9 Austin v. University of Oregon,
  10    No. 6:15-CV-02257-MIC, 2017 WL 4621802 (D. Or. June 7, 2017),
        aff’d, 925 F.3d 1133 (9th Cir. 2019) .................................................................... 12
  11
     Bell Atlantic Corp. v. Twombly,
  12
        550 U.S. 544 (2007) ............................................................................................. 15
  13
     BV Engineering v. University of California, Los Angeles,
  14    858 F.2d 1394 (9th Cir. 1988) ........................................................................ 16, 17
  15
     Cousins v. Lockyer,
  16    568 F.3d 1063 (9th Cir. 2009) ................................................................................ 7
  17 Doe v. Columbia College Chicago,
  18   933 F.3d 849 (7th Cir. 2019) ...................................................................... 9, 10, 12
  19 Doe v. Cummins,
  20   662 F. App’x 437 (6th Cir. 2016) ......................................................................... 10

  21 Doe v. Loh,
       No. PX-16-3314, 2018 WL 1535495 (D. Md. Mar. 29, 2018) ............................ 10
  22
  23 Doe v. Purdue University,
       928 F.3d 652 (7th Cir. 2019) ................................................................................ 10
  24
     Doe v. Regents of the University of California,
  25   891 F.3d 1147 (9th Cir. 2018) ........................................................................ 16, 17
  26
     Doe v. Regents of the University of California,
  27   No. 2:15-CV-02478-SVW-JEM, 2015 WL 13755510 (C.D. Cal.
  28   Dec. 14, 2015) ...................................................................................................... 14
                                               -ii-                     2:19-CV-10385-PSG-MRW
          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 6 of 27 Page ID #:81




    1                                                TABLE OF AUTHORITIES
                                                        (Continued)
    2                                                                                                                          Page
    3 Doe v. Trustees of Boston College,
        892 F.3d 67 (1st Cir. 2018) .................................................................................. 10
    4
    5 Doe v. Univ. of Colorado, Boulder through Board of Regents of the
        University of Colorado,
    6   255 F. Supp. 3d 1064 (D. Colo. 2017) ................................................................. 11
    7
      Doe v. University of St. Thomas,
    8   240 F. Supp. 3d 984 (D. Minn. 2017) .................................................................. 10
   9 Doe v. Washington University,
  10     No. 4:19 CV 300 (JMB), 2020 WL 353587 (E.D. Mo. Jan. 21,
         2020) ..................................................................................................................... 13
  11
     Gant v. County of Los Angeles,
  12
         772 F.3d 608 (9th Cir. 2014) .................................................................................. 7
  13
     Ileto v. Glock Inc.,
  14     349 F.3d 1191 (9th Cir. 2003) ................................................................................ 7
  15
     Jackson v. Hayakawa,
  16     682 F.2d 1344 (9th Cir. 1982) .............................................................................. 16
  17 King v. Depauw University,
  18    No. 2:14-CV-70-WTL-DKL, 2014 WL 4197507 (S.D. Ind. Aug. 22,
        2014) ..................................................................................................................... 15
  19
  20 Leite v. Crane Co.,
        749 F.3d 1117 (9th Cir. 2014) ................................................................................ 7
  21
     Mendiondo v. Centinela Hospital Medical Center,
  22    521 F.3d 1097 (9th Cir. 2008) ................................................................................ 7
  23
     Pennhurst State School & Hospital v. Halderman,
  24    465 U.S. 89 (1984) ............................................................................................... 16
  25 Ruff v. Board of Regents of the University of New Mexico,
  26    272 F. Supp. 3d 1289 (D.N.M. 2017)................................................................... 11
  27
  28

                                              -iii-                     2:19-CV-10385-PSG-MRW
          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 7 of 27 Page ID #:82




    1                                                 TABLE OF AUTHORITIES
                                                         (Continued)
    2                                                                                                                           Page
    3 Schwake v. Arizona Board of Regents,
         No. CV-15-00696-PHX-SPL, 2018 WL 1536388 (D. Ariz. Mar. 29,
    4
         2018) ....................................................................................................................... 8
    5
      Stanley v. Trustees of California State University,
    6    433 F.3d 1129 (9th Cir. 2006) .............................................................................. 17
    7
      Steshenko v. Albee,
    8    42 F. Supp. 3d 1281 (N.D. Cal. 2014).................................................................. 17
   9 Thompson v. City of Los Angeles,
  10    885 F.2d 1439 (9th Cir. 1989), overruled on other grounds by Bull
        v. City of L.A., 595 F.3d 964 (9th Cir. 2010)........................................................ 16
  11
     Will v. Michigan Department of State Police,
  12
        491 U.S. 58 (1989) ............................................................................................... 16
  13
     Xiaolu Peter Yu v. Vassar College,
  14    97 F. Supp. 3d 448 (S.D.N.Y. 2015) .................................................................... 14
  15
     Yusuf v. Vassar College,
  16    35 F.3d 709 (2d Cir. 1994) ........................................................................... 8, 9, 14
  17 Z.J. v. Vanderbilt University,
  18    355 F. Supp. 3d 646 (M.D. Tenn. 2018) .............................................................. 11
  19 STATE CASES
  20 John Doe v. The Regents of the University of California,
  21    Case No. BS172217 (L.A. Super. Ct.) ................................................................... 5
  22 FEDERAL STATUTES
  23 20 U.S.C. § 1681............................................................................................. 1, passim
  24
     42 U.S.C. § 1983............................................................................................ 1, 2, 6, 16
  25
     Federal Rule of Civil Procedure 8(a) ........................................................................... 7
  26
  27 Federal Rule of Civil Procedure 12(b)(1) .................................................................... 7
  28 Federal Rule of Civil Procedure 12(b)(6) .................................................................... 7

                                               -iv-                      2:19-CV-10385-PSG-MRW
           MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 8 of 27 Page ID #:83




    1                                           TABLE OF AUTHORITIES
                                                   (Continued)
    2                                                                                                              Page
    3 STATE STATUTES
    4 Cal. Code Civ. Proc. § 1094.5 ............................................................................... 5, 17
    5
      California’s Unruh Civil Rights Act, Cal. Civ. Code § 51 .......................... 1, 6, 16, 17
    6
      FEDERAL CONSTITUTIONAL PROVISIONS
    7
      Eleventh Amendment ...................................................................................... 1, 16, 17
    8
    9 Fourteenth Amendment ......................................................................................... 1, 16
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               -v-                      2:19-CV-10385-PSG-MRW
          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 9 of 27 Page ID #:84




    1 I.     INTRODUCTION
    2        Plaintiff John Doe, a former international graduate student at University of
    3 California, Los Angeles (“UCLA”), alleges that The Regents of the University of
    4 California (“the University”) discriminated against him on the basis of his gender in
    5 initiating and pursuing a Title IX investigation and adjudication against him and
    6 sanctioning him with a two-year suspension for dating violence, a violation of the
    7 University’s Policy for Sexual Violence and Sexual Harassment.
    8        The Ninth Circuit has held that to adequately plead Title IX claims for
    9 discrimination based on “erroneous outcome” and “selective enforcement” theories,
  10 the two Title IX claims Plaintiff asserts here, a plaintiff must articulate some basis
  11 “to discern that the administration or outcomes of the disciplinary proceedings were
  12 flawed due to the [plaintiff’s] sex” and must assert “nonconclusory allegations that
  13 the male students were treated . . . differently than similarly situated female students
  14 based on sex.” Austin v. Univ. of Or., 925 F.3d 1133, 1138 (9th Cir. 2019). Plaintiff
  15 has done neither. Instead, he alleges only that federal guidance requiring
  16 universities across the country to address campus sexual misconduct exerted
  17 “pressure” on the University here, but Plaintiff fails to draw any plausible link
  18 between such pressure, his gender, and the outcome of his misconduct proceeding.
  19 He also fails to allege anything that plausibly demonstrates that the University’s
  20 actions were motivated by his gender. His Title IX claims should therefore be
  21 dismissed.
  22         Plaintiff’s Fourteenth Amendment due process claim under 42 U.S.C. § 1983
  23 and his five state-law claims, including claims for breach of contract, promissory
  24 estoppel, negligence, violation of the Unruh Civil Rights Act, and wrongful
  25 termination, also should be dismissed because the University is an “arm” of the
  26 State of California. The Eleventh Amendment bars section 1983 claims against
  27 states. It also bars state-law claims in federal court against states, unless a state
  28

                                             -1-                      2:19-CV-10385-PSG-MRW
        MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 10 of 27 Page ID #:85




    1 unequivocally consents to suit. Plaintiff’s section 1983 claim and state-law claims
    2 should therefore be dismissed with prejudice.
    3 II.       FACTUAL BACKGROUND1
    4           A.     The February 13, 2017 Incident
    5           Plaintiff was an international graduate student at University of California, Los
    6 Angeles (“UCLA”).2 (Compl. ¶ 12.) In the Spring Quarter of 2014, Plaintiff met
    7 Jane Roe (“Roe”) when she was enrolled as an undergraduate student in a chemistry
    8 class in which Plaintiff served as her teaching assistant. (Id.) Plaintiff and Roe
    9 began dating in summer 2014 and became engaged in December 2016. (Id. ¶¶ 12,
   10 14.) In February 2017, Plaintiff and Roe had a falling out and terminated their
   11 relationship. (Id. ¶¶ 15-18.)
   12           On February 13, 2017, Roe came to Plaintiff’s office on the UCLA campus
   13 unannounced. (Id. ¶¶ 19-23.) Roe brought with her a bag of items to return to
   14 Plaintiff and asked him to return her Social Security card, which she believed
   15 Plaintiff had. (Id. ¶¶ 22, 25.) Plaintiff and Roe met outside Plaintiff’s office, and
   16 the encounter between them became loud and “caused a scene.” (Id. ¶ 23.) Plaintiff
   17 refused to let Roe into his office and told Roe that he needed to leave to teach a
   18 class. (Id. ¶¶ 24-26.) Roe did not leave and stood in front of Plaintiff’s office door.
   19 (Id. ¶¶ 26-30.) Eventually, Plaintiff left to teach a class. (Id. ¶ 30.) Roe then
   20 contacted the UCLA Police Department (“UCPD”) and reported that during the
   21 encounter Plaintiff had pushed her in the upper torso area and had grabbed her wrist
   22 and forearm. (Id. ¶ 31.) UCPD arrested Plaintiff following his class. (Id. ¶ 32.)
   23
   24
   25
        1
        For purposes of this motion only, the University treats Plaintiff’s allegations as
   26 true.
   27 2 Plaintiff is a Chinese national and English is not his first language. (Compl. ¶¶ 12,
   28 38.)

                                                 -2-                      2:19-CV-10385-PSG-MRW
            MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 11 of 27 Page ID #:86




    1           B.     University Investigation
    2           Roe met with UCLA’s Interim Title IX Coordinator on February 20, 2017,
    3 and with a Title IX investigator, on April 13, 2017.3 (Id. ¶¶ 39, 44.) The Title IX
    4 Office and Office of Student Conduct issued a Joint Notice of Charges against
    5 Plaintiff on May 10, 2017. (Id. ¶ 48.) In addition to charges related to the February
    6 13, 2017 incident, the Notice of Charges included charges related to earlier conduct
    7 Roe reported to the Title IX Office. (Id. ¶ 44.) On May 10, 2017, the Office of the
    8 Dean of Students issued an interim suspension against Plaintiff pending resolution
    9 of the allegations in the Notice. (Id. ¶ 49.) Plaintiff appealed the interim
   10 suspension, and it was modified to allow Plaintiff to participate in certain activities
   11 on campus. (Id. ¶ 50.)
   12           Over the next four months, the University gathered evidence, interviewed
   13 witnesses, and provided Plaintiff opportunities to respond to the allegations, as well
   14 as review and respond to the information they gathered. (Id. ¶¶ 51-63.) On
   15 September 15, 2017, the Title IX Office and Office of Student Conduct issued a
   16 Joint Amended Notice of Charges. (Id.¶ 64.) As related to the February 13, 2017
   17 incident, the Amended Notice charged Plaintiff with one incident of Dating
   18 Violence in violation of the University of California Policy for Sexual Violence and
   19 Sexual Harassment (“UC SVSH Policy”) Section II.B.1.c.i, and Section 102.08
   20 (Conduct that Threatens Health or Safety) of the UCLA Student Conduct Code
   21 (“Code”). (Id. ¶¶ 65-66.) After issuing the Amended Notice of Charges, the Title
   22 IX investigator informed Plaintiff that he would have another opportunity to review
   23 the summary of information on which she would rely in making her findings. (Id.
   24 ¶ 68.) Plaintiff again reviewed the information and provided a response. (Id. ¶ 69.)
   25
   26   3
       The initial Title IX investigator assigned to the investigation was Danica Myers,
   27 but at some point, responsibility for the investigation was transferred to Sonia
   28 Shakoori. (Compl. ¶ 55.)

                                                 -3-                      2:19-CV-10385-PSG-MRW
            MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 12 of 27 Page ID #:87




    1          On September 22, 2017, the Title IX investigator issued her Investigation
    2 Report. (Id. ¶ 70.) In her report, the investigator concluded that Plaintiff was
    3 responsible for the February 13, 2017 incident and that Roe was placed in
    4 reasonable fear of serious bodily injury. (Id. ¶¶ 70, 78.) Based on her findings, the
    5 Investigation Report recommended that there was sufficient evidence to find
    6 Plaintiff responsible for a violation of Section II.B.1.c.i (Dating Violence) of the UC
    7 SVSH Policy, and Sections 102.08 (Conduct that Threatens Health or Safety),
    8 102.09 (Sexual Harassment), and 102.26 (Terrorizing Conduct) of the Code. (Id.
    9 ¶ 84.)
   10          C.    Student Conduct Determination and Suspension
   11          On September 29, 2017, Plaintiff provided a written statement to Associate
   12 Dean of Students Jasmine Rush, presenting factual and legal arguments why Rush
   13 should reject the findings of the Title IX investigator. (Id. ¶ 91.) On October 13,
   14 2017, the University issued its decision accepting the investigator’s recommended
   15 findings as to the allegations supporting the charges of Dating Violence and
   16 Conduct that Threatens Health or Safety, but not as to Sexual Harassment or
   17 Terrorizing Conduct. (Id. ¶¶ 93-94.) Based on the decision, the University issued a
   18 sanction of a two-year suspension. (Id. ¶ 100.)
   19          D.    Plaintiff’s Administrative Appeal
   20          Plaintiff appealed the University’s decision on October 27, 2017, alleging (1)
   21 that problems with translation materially affected the outcome of the investigation
   22 process; (2) that the University’s findings were unreasonable; and (3) that the
   23 sanctions were disproportionate to the findings. (Id. ¶¶ 104, 108, 110.) On
   24 December 8, 2017, an appeal hearing was conducted before a three-member appeal
   25 body. (Id. ¶ 115.) Neither Roe nor Plaintiff testified at the hearing, but the appeal
   26 body did hear from other witnesses, including Dean Rush. (Id. ¶¶ 116-17.) On
   27 December 11, 2017, the Appeal Panel issued its decision affirming the University’s
   28 decision and discipline in all respects. (Id. ¶ 121.) Plaintiff’s suspension became

                                              -4-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 13 of 27 Page ID #:88




    1 effective immediately upon the denial of his appeal. (Id.) As a result of the
    2 suspension, Plaintiff lost his F-1 visa status. (Id. ¶ 125.)
    3         E.    Plaintiff’s Writ of Administrative Mandate Proceeding
    4         On February 13, 2018, Plaintiff filed a Petition for Writ of Mandamus under
    5 Cal. Code Civ. Proc. § 1094.5 in Los Angeles Superior Court, alleging that the
    6 University failed to grant him a fair hearing, committed a prejudicial abuse of
    7 discretion, issued a decision that was not supported by the findings, and made
    8 findings that were not supported by the evidence. (Id. ¶ 123; see also John Doe v.
    9 The Regents of The Univ. of Cal., Case No. BS172217 (L.A. Super. Ct.).) On April
   10 13, 2018, the Superior Court issued a stay of the University’s decision and sanction
   11 against Plaintiff. (Compl. ¶ 124.) On May 22, 2018, the University filed a
   12 Confession of Judgment, and judgment was entered and a writ issued on May 24,
   13 2018. (Id. ¶¶ 126, 128.)
   14         F.    Plaintiff’s Claims
   15         Plaintiff filed this lawsuit against the University on December 6, 2019,
   16 asserting eight causes of action under both federal and state law relating to his Title
   17 IX investigation and proceedings.
   18               1.     Plaintiff Asserts Claims of Sex Discrimination Under Title IX
   19         Plaintiff asserts an “erroneous outcome” claim under Title IX of the
   20 Education Amendments of 1972, 20 U.S.C. § 1681 (“Title IX”), alleging that an
   21 erroneous outcome occurred in the University’s adjudication of his case due to
   22 gender discrimination. (Compl. ¶¶ 131-53.) He also asserts a Title IX “selective
   23 enforcement” claim, alleging that the University selectively enforced its policies
   24 against him by initiating the Title IX proceeding and imposed a severe sanction
   25 based on his gender. (Id. ¶¶ 155-163.)
   26         Plaintiff purports to base these claims of gender discrimination on a
   27 “combination of internal institutional pressure, ongoing [U.S. Department of
   28 Education Office of Civil Rights (“OCR”)] investigations, and pressure from the

                                              -5-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 14 of 27 Page ID #:89




    1 United States Department of Education, under a threat of recession of federal
    2 funds,” which he alleges, “contributed to an overzealous prosecution and erroneous
    3 finding of responsibility against Plaintiff.” (Compl. ¶ 152.) In support of this
    4 theory, Plaintiff relies on the following facts: (1) a 2011 “Dear Colleague Letter”
    5 issued by the OCR, which sounded a “call to action” for universities for taking
    6 actions to eliminate sexual violence and sexual assault (id. ¶¶ 144-146); (2)
    7 additional directives issued by the OCR in 2014 aimed at providing guidance on
    8 campus sexual misconduct policies and procedures (id. ¶ 147); (3) a White House
    9 report, titled “Not Alone,” that advised that if schools were found in violation of
   10 Title IX they would risk losing federal funding, as well as OCR’s and DOJ’s
   11 authority to initiate investigations and litigation for such violations (id. ¶ 148); and
   12 (4) the testimony of then-Assistant Secretary of Education in June 2014 regarding its
   13 enforcement of the Dear Colleague Letter, including its hiring of additional
   14 investigators and ability to terminate federal funds. (Id. ¶ 149.)
   15                2.    Plaintiff Asserts Various Other Federal and State Claims
   16         Plaintiff asserts a claim for violation of due process under 42 U.S.C. § 1983,
   17 based on the University’s initiation and adjudication of the Title IX proceeding.
   18 (Compl. ¶¶ 164-91.) He also asserts a variety of state-law claims for: (1) breach of
   19 contract, alleging the University’s conduct during the Title IX investigation and
   20 adjudication constituted breaches of express and implied contracts with Plaintiff (id.
   21 ¶¶ 192-203); (2) promissory estoppel, based on the University’s alleged violations
   22 of its policies, which he alleges constitute representations and promises by the
   23 University upon which he detrimentally relied (id. ¶¶ 204-10); (3) a state-law claim
   24 for negligence based on the University’s alleged failure to provide a fair disciplinary
   25 process (id. ¶ 211-18); (4) violation of California’s Unruh Civil Rights Act, Cal.
   26 Civ. Code § 51, alleging the University denied him of “advantages, facilities,
   27 privileges, and services” afforded to UCLA students based on his gender (id.
   28

                                              -6-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 15 of 27 Page ID #:90




    1 ¶¶ 219-27); and (5) a wrongful termination claim based on his suspension allegedly
    2 causing him to lose his position as a lecturer at UCLA. (Id. ¶¶ 228-33.)
    3 III.    LEGAL STANDARD
    4         A defendant is entitled to dismissal under Rule 12(b)(6) of the Federal Rules
    5 of Civil Procedure “where the complaint lacks a cognizable legal theory or sufficient
    6 facts to support a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med.
    7 Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). Under Federal Rule of Civil Procedure
    8 8(a), to survive a Rule 12(b)(6) motion, a complaint must plead facts “to state a
    9 claim to relief that is plausible on its face.”’ Cousins v. Lockyer, 568 F.3d 1063,
   10 1067-68 (9th Cir. 2009). In evaluating a Rule 12(b)(6) motion, a court accepts as
   11 true all material facts alleged in the complaint and construes them in the light most
   12 favorable to the non-moving party. Gant v. Cty. of L.A., 772 F.3d 608, 614 (9th Cir.
   13 2014). A court does not accept as true “unreasonable inferences or assume the truth
   14 of legal conclusions cast in the form of factual allegations.” Ileto v. Glock Inc., 349
   15 F.3d 1191, 1200 (9th Cir. 2003). “Threadbare recitals of the elements of a cause of
   16 action, supported by mere conclusory statements, do not suffice.” Ashcroft v. Iqbal,
   17 556 U.S. 662, 678 (2009). The same pleading standard applies to Title IX claims.
   18 Austin, 925 F.3d 1133 at 1136 (holding Rule 8(a) pleading standard applies to Title
   19 IX cases).
   20         Likewise, where a motion under Rule 12(b)(1) challenges jurisdiction based
   21 only on the allegations of the complaint, the Court applies the same standards it
   22 would apply to a Rule 12(b)(6) motion. Leite v. Crane Co., 749 F.3d 1117, 1121
   23 (9th Cir. 2014).
   24 IV.     ARGUMENT
   25         A.     Plaintiff’s Title IX Claims Should Be Dismissed Because He Fails to
                     Adequately Plead Gender Bias
   26
              Title IX provides that “[n]o person in the United States shall, on the basis of
   27
        sex, be excluded from participation in, be denied the benefits of, or be subjected to
   28

                                              -7-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 16 of 27 Page ID #:91




    1 discrimination under any education program or activity receiving Federal finance
    2 assistance.” 20 U.S.C. § 1681(a). Here, Plaintiff asserts two theories of Title IX
    3 liability: (1) erroneous outcome and (2) selective enforcement. Both theories
    4 require a plaintiff to show he faced discrimination “on the basis of sex.” Id.;
    5 Schwake v. Ariz. Bd. of Regents, No. CV-15-00696-PHX-SPL, 2018 WL 1536388,
    6 at *6 (D. Ariz. Mar. 29, 2018). The Ninth Circuit recently confirmed that, to
    7 survive a motion to dismiss claims based on these theories, a plaintiff must plead
    8 “nonconclusory allegations plausibly linking the disciplinary action to
    9 discrimination on the basis of sex.” Austin, 925 F.3d at 1138. Plaintiff fails to do
   10 so—his Complaint is devoid of any allegations that plausibly suggest the University
   11 discriminated against Plaintiff on the basis of his gender. Accordingly, Plaintiff’s
   12 Title IX claims should be dismissed.
   13                1.     Plaintiff Fails to Plead a Plausible Erroneous Outcome Claim
   14         Plaintiff fails to state a claim based on an erroneous outcome because his
   15 Complaint contains only conclusory allegations regarding the existence of “federal
   16 pressure” on universities that are unconnected to his particular disciplinary
   17 proceeding. Plaintiff fails to plausibly allege that gender bias was the source of any
   18 erroneous outcome of his proceeding, and his erroneous outcome claim should be
   19 dismissed.
   20                       (a)   Courts require that plaintiffs allege that the outcome
                                  was flawed due to plaintiff’s sex
   21
              To state an erroneous outcome claim, a plaintiff must: (1) “allege particular
   22
        facts sufficient to cast some articulable doubt on the accuracy of the outcome of the
   23
        disciplinary proceeding,” Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994),
   24
        and (2) “articulate a[] basis to discern that the administration or outcome[] of the
   25
        disciplinary proceeding[] w[as] flawed due to [the plaintiff’s] sex.” Austin, 925
   26
        F.3d at 1138. Gender bias can be shown through, for example, “statements by
   27
        members of the disciplinary tribunal, statements by pertinent university officials, or
   28

                                              -8-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 17 of 27 Page ID #:92




    1 patterns of decision-making that also tend to show the influence of gender.” Yusuf,
    2 35 F.3d at 715. In contrast, simply alleging that flaws in the proceeding led to an
    3 erroneous outcome, combined with conclusory allegations of gender bias, is
    4 insufficient to survive a motion to dismiss. Id.
    5         In Austin, the Ninth Circuit affirmed the dismissal of a Title IX claim under
    6 both erroneous-outcome and selective-enforcement theories brought by three male
    7 student athletes who had been found, in a university disciplinary proceeding, to have
    8 engaged in sexual misconduct at an off-campus party. 925 F.3d at 1135, 37-38. In
    9 support of their claim that their disciplinary proceedings were affected by gender
   10 bias, the plaintiffs alleged that (1) there were campus protests relating to the victim’s
   11 allegations of sexual assault; (2) the university president gave a speech related to the
   12 incident; and (3) that the university had not imposed discipline on any female
   13 students for sexual misconduct. Id. at 1138. The Ninth Circuit concluded that the
   14 first two allegations were insufficient because the complaint did not “make any
   15 plausible link connecting these events and the University’s disciplinary actions to
   16 the fact that the student athletes are male.” Id. It further concluded that the third
   17 allegation was insufficient because the complaint did “not claim that any female
   18 University students ha[d] been accused of comparable misconduct,” and were
   19 “disciplined unequally.” Id. The Ninth Circuit therefore affirmed the district
   20 court’s dismissal of plaintiffs’ Title IX claims because the complaint contained only
   21 “[a] recitation of facts without [a] plausible connection” to sex discrimination. Id.
   22         Similarly, courts have uniformly held that general allegations of federal
   23 pressure to address campus sexual misconduct are insufficient to plead gender bias,
   24 as such “pressure” does not support plausible inferences that the university
   25 succumbed to such pressure to render a biased outcome in a plaintiff’s particular
   26 case. For example, in Doe v. Columbia College Chicago, the Seventh Circuit
   27 rejected a plaintiff’s argument that “the ‘Dear Colleague’ letter, pressure from the
   28 Office of Civil Rights investigations,” and on-campus programming, including the

                                              -9-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 18 of 27 Page ID #:93




    1 screening of a film about sexual assault, “combined to cause Columbia to implement
    2 anti-male policies to increase convictions of male students.” 933 F.3d 849, 855 (7th
    3 Cir. 2019). The court explained that in the first place, the “Dear Colleague Letter”
    4 “applies equally to male and female students accused of sexual assault.” Id.
    5 Further, the allegations were insufficient because they were not particular to
    6 plaintiff’s case—“A plaintiff cannot rely on these generalized allegations alone . . .
    7 but must combine them with facts particular to his case to survive a motion to
    8 dismiss.” Id. Other courts have held the same. See, e.g., Doe v. Cummins, 662 F.
    9 App’x 437, 453 (6th Cir. 2016) (holding allegation that “‘Dear Colleague Letter’
   10 induced [the university] to discriminate against males in sexual-assault
   11 investigations in order to preserve federal funding . . . is insufficient to create a
   12 plausible claim of gender bias under Title IX”); Doe v. Loh, No. PX-16-3314, 2018
   13 WL 1535495, at *9 (D. Md. Mar. 29, 2018) (“Doe’s allegation of general pressure
   14 that the Dear Colleague letter supposedly exerted on all universities does not allow
   15 the inference that UMCP succumbed to such pressure, and that the pressure
   16 rendered a biased outcome in Doe’s case.”); Doe v. Univ. of St. Thomas, 240 F.
   17 Supp. 3d 984, 992 (D. Minn. 2017) (joining “the majority of federal courts in
   18 finding a general reference to federal pressure, by itself, is insufficient to show
   19 gender bias”); cf. Doe v. Tr. of Boston Coll., 892 F.3d 67, 92 (1st Cir. 2018)
   20 (holding at summary judgment that argument that university’s administrators “were
   21 influenced by outside pressure, in particular the U.S. Department of Education’s
   22 April 2011 ‘Dear Colleague’ Letter,” was meritless because the plaintiffs failed to
   23 explain how the Letter “reflects or espouses gender bias”).
   24         Even where courts have found the “Dear Colleague Letter” relevant, they
   25 have only done so where the letter, combined with other case-specific allegations of
   26 gender bias, support a plausible inference of gender discrimination. See, e.g., Doe v.
   27 Purdue Univ., 928 F.3d 652, 668-69 (7th Cir. 2019) (holding that the “letter,
   28 standing alone, is obviously not enough to get John over the plausibility line,” but

                                             -10-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 19 of 27 Page ID #:94




    1 concluding that the plaintiff had alleged additional facts “raising the inference that
    2 the [university] acted at least partly on the basis of sex in his particular case.”).
    3 Moreover, numerous courts have held insufficient even more specific allegations of
    4 gender bias based on external pressure because allegations that “pressure from the
    5 federal government to investigate sexual assault allegations more aggressively, . . .
    6 says nothing about [a] [u]niversity’s alleged desire to find men responsible because
    7 they are men.” Doe v. Univ. of Colo., Boulder through Bd. of Regents of Univ. of
    8 Colo., 255 F. Supp. 3d 1064, 1077 (D. Colo. 2017) (concluding that allegations of
    9 “general pressure exerted by the Dear Colleague Letter or specific pressure exerted
   10 by an investigation directed at the University, or both,” were insufficient to allege
   11 gender bias) (emphasis added); Ruff v. Bd. of Regents of Univ. of N. M., 272 F.
   12 Supp. 3d 1289, 1302 (D.N.M. 2017) (concluding allegations of numerous student
   13 complaints regarding the University’s failure to respond to reports of sexual
   14 assaults, local media coverage of the complaints, and that the university was facing
   15 a DOJ investigation motived the university to prosecute the allegations in plaintiffs’
   16 highly publicized sexual assault case were insufficient to support an inference of
   17 gender discrimination because they failed to “demonstrat[e] that outside pressure
   18 actually influenced UNM, not just to aggressively pursue sexual assault cases, but to
   19 do so in a manner biased against males.”); Z.J. v. Vanderbilt Univ., 355 F. Supp. 3d
   20 646, 682 (M.D. Tenn. 2018) (explaining that “when courts consider allegations of
   21 external pressure, they look to see if a plaintiff has alleged facts demonstrating that
   22 it was pressure not only to ‘aggressively pursue sexual assault cases, but to do so in
   23 a manner biased against males,” which plaintiff’s vague allegations of gender bias
   24 based on pressure from a “prior, nationally publicized incident of sexual
   25 misconduct” did not do).
   26
   27
   28

                                             -11-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 20 of 27 Page ID #:95




    1                      (b)   Plaintiff fails entirely to allege any link, much less a
                                 plausible link, between the “federal pressure,” the
    2                            outcome in his proceeding, and the fact that he is male
    3        The allegations here are even less substantial than those the Ninth Circuit
    4 found insufficient in Austin or that the Seventh Circuit found insufficient in
    5 Columbia College. Even assuming there was an erroneous outcome, Plaintiff fails
    6 to allege anything that plausibly shows that any error was “due to” his gender.
    7 Austin, 925 F.3d at 1138. Just as in Doe v. Columbia College Chicago, OCR
    8 guidance and White House directives requiring campuses to address sexual
    9 misconduct “applies equally to male and female students accused of sexual assault.”
   10 933 F.3d at 855. The allegations here are even less specific than those found
   11 insufficient in Columbia College, which included specific allegations regarding an
   12 OCR investigation and examples of on-campus programming. Id. Similarly, the
   13 allegations in Austin that the university faced pressure—which were found
   14 insufficient to state a claim—were far more substantial than those alleged here. In
   15 Austin, there were campus protests, local news coverage of the alleged sexual
   16 assault, and the university president gave a speech related to the incident. 925 F.3d
   17 at 1135, 38. “Plaintiffs asserted that Defendants were presumed guilty because
   18 public pressure resulted in a biased investigation and hearing that deprived Plaintiffs
   19 of their educational opportunities based on their gender.” Austin v. Univ. of Or., No.
   20 6:15-CV-02257-MIC, 2017 WL 4621802, at *2 (D. Or. June 7, 2017), aff’d, 925
   21 F.3d 1133 (9th Cir. 2019). Even so, the Ninth Circuit concluded the complaint
   22 failed to allege a plausible link connecting those events and the university’s
   23 disciplinary actions to the fact the students were male. 925 F.3d at 1138. Just as in
   24 Columbia College and in Austin, Plaintiff’s Complaint fails to establish any
   25 plausible link between the alleged federal pressure on universities to investigate
   26 sexual assault claims, the disciplinary action against him, and his gender.
   27        Plaintiff also alleges that “[a] pervasive atmosphere of anti-male bias within
   28 the Title IX enforcement personnel at the University of California has resulted in an

                                             -12-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 21 of 27 Page ID #:96




    1 unprecedented amount of litigation in which the Superior Court of California has
    2 repeatedly held, on numerous occasions, that the University deprived the male
    3 student of a fair proceeding in adjudicating misconduct allegations.” Compl. ¶ 150.
    4 This allegation is equally insufficient, however, because it is wholly conclusory and
    5 says nothing about whether those male students were deprived of a fair proceeding
    6 based on their gender. See Austin, 925 F.3d at 1138 (affirming dismissal of
    7 erroneous outcome claim because “complaint is missing any factual allegations that
    8 show that sex discrimination was the source of any error”).
    9         Further, to the extent Plaintiff argues that the University’s policies and
   10 procedures applicable to students facing disciplinary proceedings are unfair, those
   11 policies and procedures do not establish gender bias because they apply equally to
   12 all students, regardless of gender. See Doe v. Wash. Univ., No. 4:19 CV 300 (JMB),
   13 2020 WL 353587, at *15 (E.D. Mo. Jan. 21, 2020) (rejecting argument that
   14 “university’s sexual assault procedures are gender-biased” because “each set of
   15 procedures expressly applies to students who commit the covered offenses
   16 regardless of the student’s gender”). Plaintiff’s allegations that “UCLA offers far
   17 fewer services and accommodations to accused students,” compared to “accusers,”
   18 and “does not allow anyone to advocate on behalf of an accused student,” but
   19 provides a “CARE advocate” for “accusers,” Compl. ¶¶ 41-43, fails for the same
   20 reason. The services and accommodations offered to complainants (whom Plaintiff
   21 refers to as “accusers”) in disciplinary proceedings versus those that are offered to
   22 respondents (whom Plaintiff refers to as the “accused”) apply equally to all students
   23 regardless of their gender. See Doe, 2020 WL 353587, at *15.
   24         Without any allegations showing a causal connection between the allegedly
   25 erroneous outcome of Plaintiff’s disciplinary proceeding and gender bias, Plaintiff
   26 fails to state a Title IX erroneous outcome claim. Plaintiff’s first cause of action
   27 must be dismissed.
   28

                                             -13-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 22 of 27 Page ID #:97




    1               2.     Plaintiff Fails to Plead a Selective-Enforcement Claim
    2         Plaintiff fails to state a claim based on selective enforcement because he again
    3 does not show his gender played a role in the decision to initiate his disciplinary
    4 proceeding or in the imposition of his two-year suspension. To state a Title IX
    5 claim based on selective enforcement a plaintiff must allege, “‘regardless of the
    6 student’s guilt or innocence, the severity of the penalty and/or the decision to initiate
    7 the proceeding was affected by the student’s gender.”’ Austin, 925 F.3d at 1138
    8 (quoting Yusuf, 35 F.3d at 715). This requires a plaintiff to plead “that [a] similarly
    9 situated student of the opposite gender was treated more leniently.” Doe v. Regents
   10 of the Univ. of Cal., No. 2:15-CV-02478-SVW-JEM, 2015 WL 13755510, at *4
   11 (C.D. Cal. Dec. 14, 2015); see also Xiaolu Peter Yu v. Vassar Coll., 97 F. Supp. 3d
   12 448, 480 (S.D.N.Y. 2015) (“To support a claim of selective enforcement, [a male
   13 plaintiff] must demonstrate that a female was in circumstances sufficiently similar to
   14 his own and was treated more favorably by the University.”). “Without
   15 nonconclusory allegations that the male students were treated any differently than
   16 similarly situated female students based on sex, the selective enforcement theory
   17 fails.” Austin, 925 F.3d at 1138.
   18         Here, Plaintiff’s selective-enforcement claim must be dismissed because his
   19 Complaint does not contain any non-conclusory allegations of gender bias or that he
   20 was treated differently than a similarly situated female student. Plaintiff’s only
   21 additional allegations supporting his selective-enforcement claim are: (1) “the
   22 actions taken and decisions made by Defendant Regents in carrying out the Title IX
   23 investigation and adjudication process were informed by Plaintiff’s gender, without
   24 regard to guilt or innocence,” Compl. ¶ 159, (2) “the majority of Title IX cases at
   25 the University of California involve female complainants and male respondents,” id.
   26 ¶ 160, and that (3) “Plaintiff was found responsible and subjected to a lengthy
   27 suspension because he is male,” id. ¶ 161. These allegations are insufficient to state
   28 a plausible claim of selective enforcement.

                                             -14-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 23 of 27 Page ID #:98




    1         First, Plaintiff’s allegations that the “Title IX investigation and adjudication
    2 process were informed by Plaintiff’s gender” and that Plaintiff was “subjected to a
    3 lengthy suspension because he was male” are merely “conclusory statements about
    4 sex discrimination,” that have repeatedly been found insufficient to state a claim.
    5 See Austin, 925 F.3d at 1138 (“[A] plaintiff’s obligation to provide the grounds of
    6 his entitlement to relief requires more than labels and conclusions, and a formulaic
    7 recitation of the elements of a cause of action will not do” (quoting Bell Atl. Corp. v.
    8 Twombly, 550 U.S. 544, 556 (2007)). Second, Plaintiff’s allegation that there are
    9 more male respondents in Title IX proceedings than females are nearly identical to
   10 the allegations deemed insufficient in Austin. In Austin, the plaintiffs alleged that
   11 “because the University disciplines male students for sexual misconduct but never
   12 female students, it is biased against men.” Austin, 925 F.3d at 1138. The Ninth
   13 Circuit held that such allegations were insufficient because they did not show that
   14 “any female University students ha[d] been accused of comparable misconduct, and
   15 thus fail[] to allege that similarly situated students—those accused of sexual
   16 misconduct—are disciplined unequally.” Id. The Court further explained that
   17 “simply because enforcement is asymmetrical does not mean that it is selectively
   18 so.” Id. Indeed, as other courts have recognized, a university “is not responsible for
   19 the gender makeup of those who are accused by other students of sexual
   20 misconduct.” King v. Depauw Univ., No. 2:14-CV-70-WTL-DKL, 2014 WL
   21 4197507, at *10 (S.D. Ind. Aug. 22, 2014).
   22         Further, even if circumstantial evidence of gender bias were sufficient to state
   23 a selective-enforcement claim, Plaintiff’s only other allegations of gender bias are
   24 those alleged in his erroneous outcome claim, and are insufficient for the same
   25 reasons identified above. See supra § IV.A.1. In the absence of any allegations
   26 showing that the University was influenced by Plaintiff’s gender in initiating its
   27 Title IX proceeding or in sanctioning him, Plaintiff fails to state a Title IX selective-
   28 enforcement claim. Thus, Plaintiff’s second cause of action must be dismissed.

                                             -15-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 24 of 27 Page ID #:99




    1         B.     Plaintiff’s § 1983 Claim and State-Law Claims Are Barred by the
                     Eleventh Amendment
    2
                     1.    Plaintiff’s § 1983 Claim Is Barred by the Eleventh
    3                      Amendment
    4         Plaintiff purports to bring a Fourteenth Amendment due process claim against
    5 the University under 42 U.S.C. § 1983. Section 1983 creates a right of action
    6 against “[e]very person” who under color of state law, violates a party’s federal
    7 rights. State entities are not “persons” subject to suit under Section 1983. Will v.
    8 Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). Under the Eleventh
    9 Amendment, the State of California is immune from Section 1983 suits, as are
   10 entities considered to be an “arm” of the state. Armstrong v. Myers, 964 F.2d 948,
   11 949-50 (9th Cir. 1992) (per curiam). The University of California is an “arm” of the
   12 State of California and is therefore not subject to suit under Section 1983. See, e.g.,
   13 Armstrong, 964 F.2d at 949-50 (“The Regents . . . is an arm of the state for Eleventh
   14 Amendment purposes, and therefore is not a ‘person’ within the meaning of section
   15 1983.”); Thompson v. City of L.A., 885 F.2d 1439, 1443 (9th Cir. 1989), overruled
   16 on other grounds by Bull v. City of L.A., 595 F.3d 964 (9th Cir. 2010) (same); BV
   17 Eng’g v. Univ. of Cal., L.A., 858 F.2d 1394, 1395 (9th Cir. 1988) (same); Jackson v.
   18 Hayakawa, 682 F.2d 1344, 1350 (9th Cir. 1982) (same). Plaintiff’s third cause of
   19 action must therefore be dismissed with prejudice.
   20                2.    Plaintiff’s State-Law Claims Are Barred by the Eleventh
                           Amendment
   21
              Plaintiff also purports to bring breach of contract, promissory estoppel,
   22
        negligence, Unruh Civil Rights Act, and wrongful termination claims against the
   23
        University. These claims are also barred by the Eleventh Amendment. The
   24
        Eleventh Amendment bars state-law claims in federal court against states, unless a
   25
        state unequivocally consents to suit. Pennhurst State Sch. & Hosp. v. Halderman,
   26
        465 U.S. 89, 121 (1984) (holding that the Eleventh Amendment bars “state-law
   27
        claims brought into federal court under pendent jurisdiction”); see also Doe v.
   28

                                             -16-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 25 of 27 Page ID #:100




     1 Regents of the Univ. of Cal., 891 F.3d 1147, 1153-54 (9th Cir. 2018) (holding
     2 “Eleventh Amendment principles require dismissal of Doe’s [Cal. Code Civ. Proc.]
     3 § 1094.5 writ petition, which is a state law claim”).
     4        As explained above, the University of California is “considered to be [an]
     5 instrumentalit[y] of the state . . . and therefore enjoy[s] the same immunity as the
     6 state of California” for purposes of the Eleventh Amendment. BV Eng’g, 858 F.2d
     7 at 1395; see also Doe, 891 F.3d at 1153-54. The University has not consented to
     8 suit for any of Plaintiff’s claims. Plaintiff’s state-law claims therefore are barred by
     9 the Eleventh Amendment. Courts routinely dismiss state-law claims brought against
   10 states and their instrumentalities, like those brought by Plaintiff, on Eleventh
   11 Amendment grounds, including claims under the Unruh Civil Rights Act. See, e.g.,
   12 Stanley v. Trs. of Cal. State Univ., 433 F.3d 1129, 1133-34 (9th Cir. 2006) (holding
   13 plaintiff’s Unruh Civil Rights Act claim and other state-law claims were barred by
   14 the Eleventh Amendment); Steshenko v. Albee, 42 F. Supp. 3d 1281, 1288-89 (N.D.
   15 Cal. 2014) (dismissing state-law tort claims brought against Board of Trustees of the
   16 California State University as barred by the Eleventh Amendment). Plaintiff’s
   17 fourth, fifth, sixth, seventh, and eighth causes of action must therefore be dismissed
   18 with prejudice.
   19 V.      CONCLUSION
   20         For the foregoing reasons, Plaintiff’s Complaint should be dismissed in its
   21 entirety, with prejudice.
   22
   23
   24
   25
   26
   27
   28

                                             -17-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 26 of 27 Page ID #:101




     1 DATED: February 13, 2020           MUNGER, TOLLES & OLSON LLP
     2                                      HAILYN J. CHEN
                                            ASHLEY D. KAPLAN
     3
     4
     5                                    By:        /s/ Ashley D. Kaplan
     6                                        ASHLEY D. KAPLAN
                                          Attorneys for Defendant The Regents of the
     7                                    University of California
     8
     9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                             -18-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
Case 2:19-cv-10385-PSG-MRW Document 11 Filed 02/13/20 Page 27 of 27 Page ID #:102




     1                           CERTIFICATE OF SERVICE
     2        The undersigned hereby certifies that a copy of the foregoing document was
     3 filed electronically on February 13, 2010. Therefore, this document was served on
     4 all counsel who are deemed to have consented to electronic service.
     5
     6                                                     /s/ Ashley D. Kaplan
     7                                                    ASHLEY D. KAPLAN

     8
     9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                             -19-                      2:19-CV-10385-PSG-MRW
         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS PLAINTIFF JOHN DOE’S COMPLAINT
